92 F.3d 1209
    320 U.S.App.D.C. 68
    ENVIRONMENTAL DEFENSE FUND, et al., Petitioners,v.ENVIRONMENTAL PROTECTION AGENCY, et al., Respondents,American Trucking Association and American Road &amp;Transportation Builders Association, Intervenors.
    Nos. 94-1044, 94-1047 and 94-1062.
    United States Court of Appeals,District of Columbia Circuit.
    July 29, 1996.
    
      Before:  SILBERMAN, GINSBURG, and HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      It is ORDERED by the court that the opinion filed by the court on April 19, 1996, be amended as follows:
    
    
      2
      The second paragraph in Part VIII is amended to delete the following text, which is found at lines 12-16 of that paragraph:  "Those levels were originally derived after a detailed analysis of the impact that a source over the threshold would have upon the attainment of the national standard for that particular pollutant.  See 40 C.F.R. §§ 51.165, 51.166;  45 Fed.Reg. 52,705-10 (1980)."
    
    
      3
      The following sentence is added before the last sentence in the penultimate paragraph of Part VIII:  "Moreover, the EPA provided a safety net to account for actions that produce emissions at a level lower than the tonnage requirements but still high enough to be 'regionally significant' for that particular pollutant, see 40 C.F.R. § 51.853(i);  the tonnage requirements are therefore not the sole basis upon which an agency is to determine whether a conformity analysis is warranted, and the EPA need not have justified the requirements as if they were."
    
    
      4
      In the sentence beginning on the fifth line of the second paragraph in Part IX, "does not require exhaustion of all available remedies" is changed to "does not, for regulations such as this one, require exhaustion of all available remedies."
    
    